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                                UNITED STATES DISTRICT COURT
                                 MIDDLE DISTRICT OF GEORGIA


    JAMES BYRNE, individually and on                          Case No.:
    behalf of all others similarly situated,
                                                              CLASS ACTION COMPLAINT
                                         Plaintiff,
                                                              DEMAND FOR JURY TRIAL
                          -v-

    AFLAC INCORPORATED,

                                         Defendant.

           Plaintiff James Byrne, individually and on behalf of all others similarly

situated (“Class” or “Class Members”), bring this Class Action Complaint

(“Complaint”) against Defendant AFLAC Incorporated (“AFLAC” or “Defendant”).

The allegations set forth in this Complaint are based on the knowledge of Plaintiff

and upon information and belief and further investigation of counsel.

                                        NATURE OF THE ACTION

       1. This class action arises out of the recent cyberattack and data breach resulting

from Defendant’s failure to implement reasonable and industry standard security

practices1.

       2. Defendant is a Fortune 500 company providing insurance products to millions

of policyholders and customers through its subsidiaries in the U.S. and is one of the



1
    See Exhibit A, Plaintiff’s Notice Email.

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largest suppliers of supplemental health insurance in the United States for medical

expenses that are not covered by a primary provider.2

    3. As a provider of insurance services, AFLAC knowingly obtains sensitive

customer and information and has a resulting duty to maintain such information in

confidence. The company has sensitive information concerning over 50 million

customers in the U.S. and abroad. 3

    4. Plaintiffs bring this Complaint against Defendant for its failure to properly

secure and safeguard the sensitive information that it collected and maintained as

part of its regular business practices, including, but not limited to: names;

demographic information, such as addresses, emails, and phone numbers

(“Personally Identifying Information” or “Private Information”) and medical

treatment and insurance information, which is protected health information (“PHI”)

as defined by the Health Insurance Portability and Accountability Act of 1996

(“HIPAA”) (collectively with PII, “Private Information”).

    5. Upon information and belief, former and current customers of Defendant are

required to entrust Defendant with sensitive, non-public “Private Information”,

without which Defendant could not perform its regular business activities, to obtain

health insurance from Defendant.



2
 https://www.aflac.com/about-aflac (last accessed June 20, 2025).
3
 https://healthexec.com/topics/health-it/cybersecurity/health-data-possibly-exposed-sophisticated-cyberattack-
aflac(last accessed June 23, 2025).

                                                         2
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    6. By obtaining, collecting, using, and deriving a benefit from the “Private

Information” of Plaintiffs and Class Members, Defendant assumed legal and

equitable duties to those individuals to protect and safeguard that information from

unauthorized access and intrusion.

    7. As discussed in more detail below, AFLAC breached its duty to protect the

“Private Information” entrusted to it.

    8. AFLAC announced on June 20, 2025 that on June 12, 2025 AFLAC identified

suspicious activity on its network in the United States that potentially impacted files

containing “claims information, health information, social security numbers, and/or

other personal information, related to customers, beneficiaries, employees, agents,

and other individuals in our U.S. business” 4 (the “Data Breach”).

    9. The Data Breach involved unauthorized access to customers’ “Private

Information” as part of a hacking spree against U.S. insurance companies by the

cybercrime group known as “Scattered Spider.” 5

    10. On June 20, 2025, AFLAC said it did not know how much customer

information may have been stolen in the Data Breach but that the potential exposure

is “vast.”6



4
  https://newsroom.aflac.com/2025-06-20-Aflac-Incorporated-Discloses-Cybersecurity-Incident(last accessed June
20, 2025).
5
  See https://www.cnn.com/2025/06/20/tech/aflac-
cyberattack#:~:text=Cybercriminals%20have%20breached%20insurance%20giant,hacks%20against%20the%20ins
urance%20industry. (last accessed June 20, 2025).
6
  Id.

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      11. AFLAC stated on June 20, 2025, that AFLAC “commenced a review of

potentially impacted files” but that “the review is in its early stages, and [AFLAC

is] unable to determine the total number of affected individuals until that review is

completed.”7

      12. Defendant failed to adequately protect Plaintiff’s and Class Members’

“Private Information”. This “Private Information” was compromised due to

Defendant’s negligent and/or careless acts and omissions and their utter failure to

protect its customers’ sensitive data. Hackers targeted and obtained Plaintiffs’ and

Class Members’ “Private Information” because of its value in exploiting and

stealing the identities of Plaintiffs and Class Members. The present and continuing

risk to victims of the Data Breach will remain for their respective lifetimes.

      13. “Scattered Spider” is a notorious cybercriminal group that “targets large

companies and their contracted information technology (IT) help desks. Scattered

Spider threat actors, per trusted third parties, have typically engaged in data theft for

extortion and have also been known to utilize BlackCat/ALPHV ransomware

alongside their usual TTPs.” 8 Plaintiff and Class Members’ sensitive data is now

unquestionably in the hands of malicious actors who specialize in identity theft and

fraud.




7
    See https://newsroom.aflac.com/2025-06-20-Aflac-Incorporated-Discloses-Cybersecurity-Incident
8
    https://www.cisa.gov/news-events/cybersecurity-advisories/aa23-320a(last accessed June 22, 2025).

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   14. As discussed in more detail below, as a result of its inadequate data security

and in breaching its duties to properly safeguard its customers’ “Private

Information”, Defendant has violated federal and state regulations and caused its

customers imminent and ongoing risk of harm.

   15. Plaintiff is now at a significantly increased and certainly impending risk of

fraud, identity theft, misappropriation of health insurance benefits, intrusion of

privacy and similar forms of criminal harm.

   16. Plaintiffs bring this action on behalf of all persons whose Private Information

was compromised as a result of Defendant's failure to: (i) adequately protect the

Private Information of Plaintiffs and Class Members; (ii) warn Plaintiffs and Class

Members of Defendant’s inadequate information security practices; and (iii)

effectively secure hardware containing protected Private Information using

reasonable and effective security procedures free of vulnerabilities and incidents.

Defendant’s conduct amounts at least to negligence and violates federal and state

statutes.

   17. Defendant disregarded the rights of Plaintiffs and Class Members by

intentionally, willfully, recklessly, or negligently failing to implement and maintain

adequate and reasonable measures to ensure that the Private Information of Plaintiffs

and Class Members was safeguarded, failing to take available steps to prevent an

unauthorized disclosure of data, and failing to follow applicable, required, and

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appropriate protocols, policies, and procedures regarding the encryption of data, even

for internal use. As a result, the Private Information of Plaintiffs and Class Members

was compromised through disclosure to an unknown and unauthorized third party.

Plaintiffs and Class Members have a continuing interest in ensuring that their

information is and remains safe, and they should be entitled to injunctive and other

equitable relief.

   18. Plaintiff brings this action on behalf of all persons whose “Private

Information” was compromised as a result of Defendant’s conduct. Specifically,

Plaintiff brings claims for negligence, negligence per se, breach of fiduciary duty,

breach of an implied contract unjust enrichment, and declaratory judgment, seeking

actual and punitive damages, with attorneys’ fees, costs, and expenses, and

appropriate injunctive and declaratory relief.

   19. Plaintiff seeks to remedy these harms and prevent any future data

compromise on behalf of himself and all similarly situated persons whose personal

data was compromised and stolen as a result of the Data Breach and who remain at

risk due to Defendant’s inadequate security practices.

                                     PARTIES

   20. Plaintiff James Byrne is and has been, at all relevant times, a resident and

citizen of New York, residing in Queens, New York with intent to remain.




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   21. At all relevant times herein, Defendant has been a resident and citizen of

Georgia, with its principal office located at 1932 Wynnton Road, Columbus,

Georgia, 31999.

                             JURISDICTION AND VENUE

   22. This Court has subject matter jurisdiction over this matter pursuant to 28

U.S.C. § 1332(d).      The amount in controversy in this Class action exceeds

$5,000,000, exclusive of interest and costs, and there are numerous Class members

who are citizens of states other than Defendant’s state of citizenship, including

Plaintiff, who is a citizen of New York.

   23. This Court has personal jurisdiction over Defendant as Defendant is

incorporated in this District, has substantial contacts with this District, and transacts

business in this District.

   24. Venue is proper in this District under 28 U.S.C. §1391(b) because AFLAC is

deemed to reside in this District because Defendant is subject to the Court’s personal

jurisdiction with respect to this Action and because a substantial part of the events

giving rise to the claims herein occurred in this District, and Defendant regularly

conducts business in this District.

                              STATEMENT OF FACTS
Defendant’s Business

   25. As stated above, Defendant is a Fortune 500 company that provides

supplemental insurance to millions of customers in the United States and abroad.
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   26. In order to obtain insurance coverage from the Defendant, AFLAC requires

that its customers provide sensitive and confidential Private Information including

their names, contact information, social security numbers, and/or other personal

information, including claims and health information.

   27. Upon information and belief, Defendant made promises and representations

to its customers that the Private Information collected from them would be kept safe,

confidential, that the privacy of that information would be maintained, and that

Defendant would delete any sensitive information after it was no longer required to

maintain it.

   28. Plaintiffs and Class Members provided their Private Information to Defendant

with the reasonable expectation and mutual understanding that Defendant would

comply with its obligations to keep such information confidential and secure from

unauthorized access.

   29. Plaintiffs and the Class Members have taken reasonable steps to maintain the

confidentiality of their Private Information. Plaintiffs and Class Members relied on

the sophistication of Defendant to keep their Private Information confidential and

securely maintained, to use this information for necessary purposes only, and to

make only authorized disclosures of this information. Plaintiffs and Class Members

value the confidentiality of their Private Information and demand security to

safeguard their Private Information.

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    30. Defendant had a duty to adopt reasonable measures to protect the Private

Information of Plaintiffs and Class Members from involuntary disclosure to third

parties. Defendant has a legal duty to keep its customers’ Private Information safe

and confidential.

    31. Defendant derived a substantial economic benefit from collecting Plaintiffs’

and Class Members’ Private Information. Without the required submission of Private

Information, Defendant could not perform the services it provides.

    32. By obtaining, collecting, using, and deriving a benefit from Plaintiffs’ and

Class Members’ Private Information, Defendant assumed legal and equitable duties

and knew or should have known that it was responsible for protecting Plaintiffs’ and

Class Members’ Private Information from disclosure in the Data Breach.

The Data Breach

    33. On or about June 20, 2025, AFLAC announced that it experienced a security

incident that “potentially impacted files contain claims information, health

information, social security numbers, and/or other personal information, related to

customers, beneficiaries, employees, agents, and other individuals in [AFLAC’s]

U.S. business.”9




9
 See https://newsroom.aflac.com/2025-06-20-Aflac-Incorporated-Discloses-Cybersecurity-Incident (last accessed
June 20, 2025).

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   34. The breach occurred when a ransomware group penetrated AFLAC’s

information network(s). Since the Data Breach, AFLAC has failed to disclose

whether it paid any ransom.

   35. Like Plaintiff, other potential Class members received similar notices

informing them of the Data Breach.

   36. The Data Breach occurred as a direct result of Defendant’s failure to

implement and follow basic security procedures to protect its customers’ and

employees’ Private Information.

Defendants Failed to Comply with FTC Guidelines

   37. AFLAC is prohibited by the Federal Trade Commission Act, 15 U.S.C. § 45

(“FTC Act”) from engaging in “unfair or deceptive acts or practices in or affecting

commerce.” The Federal Trade Commission (“FTC”) has concluded that a

company’s failure to maintain reasonable and appropriate data security for

consumers’ sensitive personal information is an “unfair practice” in violation of the

FTC Act.

   38. The FTC has promulgated numerous guides for businesses that highlight the

importance of implementing reasonable data security practices. According to the

FTC, the need for data security should be factored into all business decision-making.

   39. The FTC provided cybersecurity guidelines for businesses, advising that

businesses should protect personal customer information, properly dispose of

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personal information that is no longer needed, encrypt information stored on

networks, understand their network’s vulnerabilities, and implement policies to

correct any security problems.10

     40. The FTC further recommends that companies not maintain Private

Information longer than is needed for authorization of a transaction; limit access to

private data; require complex passwords to be used on networks; use industry-tested

methods for security; monitor for suspicious activity on the network; and verify that

third-party service providers have implemented reasonable security measures. 11

     41. The FTC has brought enforcement actions against businesses for failing to

adequately and reasonably protect customer data, treating the failure to employ

reasonable and appropriate measures to protect against unauthorized access to

confidential consumer data as an unfair act or practice prohibited by Section 5 of the

FTC Act. Orders resulting from these actions further clarify the measures businesses

must take to meet their data security obligations.

     42. AFLAC failed to properly implement basic data security practices. AFLAC’s

failure to employ reasonable and appropriate measures to protect against

unauthorized access to patient Private Information constitutes an unfair act of

practice prohibited by Section 5 of the FTC Act.



10
   See https://www.ftc.gov/business-guidance/resources/protecting-personal-information-guide-business (last
accessed June 20, 2025).
11
   Id.

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     43. AFLAC was at all times fully aware of its obligations to protect customers’

Private Information. Defendant is also aware of the significant repercussions that

would result from its failure to do so.

AFLAC Knew the Risks of Storing Valuable Personal Information

     44. At all relevant times, AFLAC knew it was storing sensitive Private

Information and that, as a result, its systems would be an attractive target for

cybercriminals.

     45. AFLAC also knew that a breach of its systems, and exposure of the

information stored therein, would result in the increased risk of identity theft and

fraud against the individuals whose Private Information was compromised, as well

as intrusion into their highly private information.

     46. Moreover, AFLAC should have been aware that the financial services

industry has become a prime target for cybercriminals and thus, alerted to its

susceptibility to cyberattack, and taken proactive measures to enhance its data

security.12

     47. Cyberattacks have become so notorious that the FBI and U.S. Secret Service

have issued a warning to potential targets so they are aware of, and prepared for, a

potential attack.




12
  See https://www.syteca.com/en/blog/data-protection-compliance-insurance-industry (last accessed June 20,
2025).

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     48. For example, in 2023, the number of data compromises in the United States

stood at 3,205 cases, affecting over 353 million individuals.13

     49. The type and breadth of data compromised in the Data Breach makes the

information particularly valuable to thieves and leaves Defendant’s customers

especially vulnerable to identity theft, tax fraud, medical fraud, credit and bank

fraud, and more.

     50. PII is a valuable property right 14 and its value is measurable. American

companies are estimated to have spent over $19 billion on acquiring personal data

of consumers in 2018.15 It is so valuable to identity thieves that once Private

Information has been disclosed, criminals often trade it on the “cyber black-market,”

or the “dark web,” for many years.

     51. As a result of their real value and the recent large-scale data breaches, identity

thieves and cybercriminals have openly posted credit card numbers, Social Security

numbers, PII, and other sensitive information directly on various Internet websites,

making the information publicly available. This information from various breaches,

including the information exposed in the Data Breach, can be aggregated, and

becomes more valuable to thieves and more damaging to victims.



13
   See https://www.statista.com/statistics/273550/data-breaches-recorded-in-the-united-states-by-number-of-
breaches-and-records-exposed/ (last accessed June 20, 2025).
14
   See https://www.researchgate.net/publication/283668023_The_Value_of_Personal_Data (“The value of [personal]
information is well understood by marketers who try to collect as much data about personal conducts and
preferences as possible”) (last accessed June 20, 2025).
15
   See https://www.iab.com/news/2018-state-of-data-report/ (last accessed June 20, 2025).

                                                     13
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     52. According to the U.S. Government Accountability Office, which conducted

a study regarding data breaches: “[I]n some cases, stolen data may be held for up to

a year or more before being used to commit identity theft. Further, once stolen data

have been sold or posted on the [Dark] Web, fraudulent use of that information may

continue for years. As a result, studies that attempt to measure the harm resulting

from data breaches cannot necessarily rule out all future harm.” 16

     53. Even if stolen PII does not include financial or payment card account

information, that does not mean there has been no harm, or that the breach does not

cause a substantial risk of identity theft. Freshly stolen information can be used with

success against victims in specifically targeted efforts to commit identity theft

known as social engineering or spear phishing. In these forms of attack, the criminal

uses the previously obtained PII about the individual, such as name, address, email

address, and affiliations, to gain trust and increase the likelihood that a victim will

be deceived into providing the criminal with additional information.

     54. Given these facts, any company that transacts business with a consumer and

then compromises the privacy of consumers’ Private Information has thus deprived

that consumer of the full monetary value of the consumer’s transaction with the

company.




16
  See United States Government Accountability Office, Report to Congressional Requesters, Personal Information,
June 2007: https://www.gao.gov/new.items/d07737.pdf (last accessed June 15, 2025).

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       55. Based on the value of its customers’ and employees’ Private Information to

cybercriminals and cybercriminals’ propensity to target businesses, AFLAC

certainly knew the foreseeable risk of failing to implement adequate cybersecurity

measures.

Data Breaches Put Consumers at an Increased and Ongoing Risk of Fraud and
Identity Theft

       56. Cyberattacks and data breaches at companies that store Private Information

are especially problematic because they can negatively impact on the overall daily

lives of individuals affected by the attack.

       57.The United States Government Accountability Office released a report in

2007 regarding data breaches (“GAO Report”) in which it noted that victims of

identity theft will face “substantial costs and time to repair the damage to their good

name and credit record.” 17

       58. That is because any victim of a data breach is exposed to serious ramifications

regardless of the nature of the data. Indeed, the reason criminals steal personally

identifiable information is to monetize it. They do this by selling the spoils of their

cyberattacks on the black market to identity thieves who desire to extort and harass

victims, and to take over victims’ identities in order to engage in illegal financial

transactions under the victims’ names. Because a person’s identity is akin to a puzzle,



17
     See https://www.gao.gov/products/gao-07-737 (last accessed June 20, 2025).

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the more accurate pieces of data an identity thief obtains about a person, the easier

it is for the thief to take on the victim’s identity or otherwise harass or track the

victim. For example, armed with just a name and date of birth, a data thief can utilize

a hacking technique referred to as “social engineering” to obtain even more

information about a victim’s identity, such as a person’s login credentials or Social

Security number. Social engineering is a form of hacking whereby a data thief uses

previously acquired information to manipulate individuals into disclosing additional

confidential or personal information through means such as spam phone calls and

text messages or phishing emails.

       59. Theft of Private Information is serious. The FTC warns consumers that

identity thieves use Private Information to exhaust financial accounts, receive

medical treatment, open new utility accounts, and incur charges and credit in a

person’s name.

       60. The FTC recommends that identity theft victims take several steps to protect

their personal and financial information after a data breach, including contacting one

of the credit bureaus to place a fraud alert (and consider an extended fraud alert that

lasts for 7 years if someone steals their identity), reviewing their credit reports,

contacting companies to remove fraudulent charges from their accounts, placing

freezes on their credit, and correcting their credit reports.18


18
     See https://www.identitytheft.gov/Steps (last accessed June 20, 2025).

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   61. Identity thieves use stolen personal information such as Social Security

numbers for a variety of crimes, including credit card fraud, phone or utilities fraud,

and bank/finance fraud. Personal information is valuable to identity thieves, and if

they can get access to it, they will use it to among other things: open a new credit

card or loan, change a billing address so the victim no longer receives bills, open

new utilities, obtain a mobile phone, open a bank account and write bad checks, use

a debit card number to withdraw funds, obtain a new driver’s license or ID, and/or

use the victim’s information in the event of arrest or court action.

   62. Identity thieves can also use the victim’s name and Social Security number

to obtain government benefits; or file a fraudulent tax return using the victim’s

information. In addition, identity thieves may obtain a job using the victim’s Social

Security number, and/or rent a house or receive medical services in the victim’s

name.

   63. Moreover, theft of Private Information is also gravely serious because Private

Information is an extremely valuable property right.

   64. Drug manufacturers, medical device manufacturers, pharmacies, hospitals,

and other healthcare service providers often purchase Private Information on the

black market for the purpose of target-marketing their products and services to the

physical maladies of data breach victims themselves.




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   65.Each year, identity theft causes tens of billions of dollars of losses to victims

in the United States. For example, with the Private Information stolen in the Data

Breach, which includes Social Security numbers, identity thieves can open financial

accounts, commit medical fraud, apply for credit, file fraudulent tax returns, commit

crimes, create false driver’s licenses and other forms of identification and sell them

to other criminals or undocumented immigrants, steal government benefits, give

breach victims’ names to police during arrests, and many other harmful forms of

identity theft. These criminal activities have and will result in devastating financial

and personal losses to Plaintiff.

   66. As discussed above, Private Information is such a valuable commodity to

identity thieves, and once the information has been compromised, criminals often

trade the information on the “cyber black- market” for years.

   67. Social Security numbers are particularly sensitive pieces of personal

information. For instance, with a stolen Social Security number, which is only one

subset of the Private Information compromised in the Data Breach, someone can

open financial accounts, get medical care, file fraudulent tax returns, commit crimes,

and steal benefits. Identity thieves can use an individual’s Social Security number to

apply for additional credit lines. Such fraud may be undetected until debt collection

calls commence months, or even years later. Stolen Social Security numbers also

make it possible for thieves to file fraudulent tax returns, file for unemployment

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benefits, or apply for a job using a false identity. Each of these fraudulent activities

is difficult to detect. An individual may not know that his or her Social Security

number was used to file for unemployment benefits until law enforcement notifies

the individual’s employer of the suspected fraud. Fraudulent tax returns are typically

discovered only when an individual’s authentic tax return is rejected because one

was already filed on their behalf.

   68. An individual cannot obtain a new Social Security number without significant

paperwork and evidence of actual misuse. Even then, a new Social Security number

may not be effective, as the credit bureaus and banks are able to link the new number

very quickly to the old number, so all of that old bad information is quickly inherited

into the new Social Security number.

   69. This was a financially motivated Data Breach, as the only reason the

cybercriminals go through the trouble of running a targeted cyberattack against

companies like AFLAC is to get information that they can monetize by selling on

the black market for use in the kinds of criminal activity described herein. This data

demands a much higher price on the black market.

   70. Fraud and identity theft resulting from the Data Breach may go undetected

until debt collection calls commence months, or even years later. As with income tax

returns, an individual may not know that his or her Social Security number was used




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to file for unemployment benefits until law enforcement notified the individual’s

employer of the suspected fraud.

   71. Cybercriminals can post stolen Private Information on the cyber black-

market for years following a data breach, thereby making such information publicly

available. Identity theft victims must spend countless hours and large amounts of

money repairing the impact to their credit as well as protecting themselves in the

future.

   72. It is within this context that Plaintiff must now live with the knowledge that

Plaintiff’s Private Information is forever in cyberspace and was taken by people

willing to use the information for any number of improper purposes and scams,

including making the information available for sale on the black market.

   73. Plaintiff must now take the time and effort (and spend the money) to mitigate

the actual and potential impact of the Data Breach on Plaintiff’s everyday life,

including purchasing identity theft and credit monitoring services every year for the

rest of Plaintiff’s life, placing “freezes” and “alerts” with credit reporting agencies,

contacting his financial institutions and healthcare providers, closing or modifying

financial accounts, and closely reviewing and monitoring bank accounts, credit

reports, and health insurance account information for unauthorized activity for years

to come.




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   74. Moreover, Plaintiff and Class members have an interest in ensuring that their

Private Information, which remains in the possession of AFLAC, is protected from

further public disclosure by the implementation of better employee training and

industry standard and statutorily compliant security measures and safeguards.

AFLAC has shown itself to be wholly incapable of protecting Plaintiff’s Private

Information.

   75. Plaintiff and Class members also have an interest in ensuring that their

personal information that was provided to AFLAC is removed from AFLAC’s

unencrypted files.

Plaintiff and the Class Suffered Damages
   Facts Relevant To Plaintiff

   76. AFLAC received Plaintiff’s Private Information in connection with

Plaintiff’s application for insurance. In requesting and maintaining Plaintiff’s Private

Information for business purposes, AFLAC expressly and impliedly promised, and

undertook a duty, to act reasonably in its handling of Plaintiff’s and Class members’

Private Information. AFLAC did not, however, take proper care of Plaintiff’s and

Class members’ Private Information, leading to its exposure to and exfiltration by

cybercriminals as a direct result of AFLAC’s inadequate security measures.

   77. In June 2025, Plaintiff received an alert in his AFLAC online account

notifying him of a cybersecurity incident (“Notice”).


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   78. Upon receiving the Notice, Plaintiff spent time reviewing his credit reports,

reviewing various credit alerts received by text and email, checking his financial

information, and dealing with increased spam text messages and emails.

   79. Plaintiff has suffered imminent and impending injury arising from the present

and ongoing risk of fraud, identity theft, and misuse resulting from his Private

Information being placed in the hands of unauthorized third parties and possibly

criminals. Plaintiff suffered lost time, annoyance, interference, and inconvenience

because of the Data Breach.

   80. Plaintiff has experienced anxiety and increased concerns arising from the fact

that his PII has been or will be misused and from the loss of his privacy.

   81. The risk is not hypothetical, as cybercriminals intentionally stole the data,

misused it, threatened to publish, or have published it on the Dark Web, and the

sensitive information, including names and Social Security numbers, which is the

type of PII used to perpetrate identity theft or fraud.

   82. Plaintiff further suffered actual injury in the form of damages to and

diminution in the value of his Private Information —a form of intangible property

that he entrusted to Defendant, which was compromised in and because of the Data

Breach.

   83. Future identity theft monitoring is reasonable and necessary, and such

services will include future costs and expenses.

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   84. Plaintiff has a continuing interest in ensuring that his Private Information

which, upon information and belief, remains backed up in Defendant’s possession,

is protected and safeguarded from future breaches.

   Plaintiff’s And Class Members’ Damages

   85. For the reasons mentioned above, AFLAC’s conduct, which allowed the Data

Breach to occur, caused Plaintiff and Class members significant injuries and harm

in several ways. Plaintiff and Class members must immediately devote time, energy,

and money to: 1) closely monitor their medical statements, bills, records, and credit

and financial accounts; 2) change login and password information on any sensitive

account even more frequently than they already do; 3) more carefully screen and

scrutinize phone calls, emails, and other communications to ensure that they are not

being targeted in a social engineering or spear phishing attack; and 4) search for

suitable identity theft protection and credit monitoring services, and pay to procure

them. Plaintiff and Class members have taken or will be forced to take these

measures in order to mitigate their potential damages as a result of the Data Breach.

   86. Once Private Information is exposed, there is little that can be done to ensure

that the exposed information has been fully recovered or obtained against future

misuse. For this reason, Plaintiff and Class members will need to maintain these

heightened measures for years, and possibly their entire lives as a result of

Defendant’s conduct.

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   87. As a result of Defendant’s failures, Plaintiff and Class members are also at

substantial and certainly impending increased risk of suffering identity theft and

fraud or misuse of their PII.

   88. Plaintiff is also at a continued risk because Plaintiff’s information remains in

AFLAC’s computer systems, which have already been shown to be susceptible to

compromise and attack and are subject to further attacks so long as AFLAC fails to

undertake the necessary and appropriate security and training measures to protect its

customers’ Private Information.

   89. In addition, Plaintiff and Class members have suffered emotional distress as

a result of the Data Breach, the increased risk of identity theft and financial fraud,

and the unauthorized exposure of their private medical information to strangers.

                                CLASS ALLEGATIONS

   90. Plaintiff brings all counts, as set forth below, individually and as a Class

action, pursuant to the provisions of the Fed. R. Civ. P. 23, on behalf of a Class

defined as:

   All individuals within the United States of America whose Private Information
   and/or financial information was exposed to unauthorized third-parties as a result
   of the Data Breach experienced by Defendant including all who received a Notice
   of the Data Breach in June 2025 (the “Class”).

   91. Excluded from the Class are Defendant, its subsidiaries and affiliates, officers

and directors, any entity in which Defendant has a controlling interest, the legal

representative, heirs, successors, or assigns of any such excluded party, the judicial
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officer(s) to whom this action is assigned, and the members of their immediate

families.

   92. Plaintiff hereby reserves the right to amend or modify the Class definition

with greater specificity or division after having had an opportunity to conduct

discovery.

   93. Numerosity – The members of the Class are so numerous that joinder of all

of them is impracticable. While the exact number of Class members is unknown to

Plaintiff at this time, upon information and belief, there are at minimum, over a

thousand members of the Class described above. The exact size of the Class and the

identities of the individual members are identifiable through AFLAC’s records,

including but not limited to the files implicated in the Data Breach.

   94. Commonality –This action involves questions of law and fact common to the

Class. Such common questions include, but are not limited to:

                a. Whether AFLAC had a duty to protect Plaintiff’s and Class

                   members Private Information;

                b. Whether Defendant failed to implement and maintain reasonable

                   security procedures and practices appropriate to the nature and

                   scope of the information compromised in the Data Breach;




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         c. Whether Defendant’s data security systems prior to and during

            the Data Breach complied with applicable data security laws and

            regulations;

         d. Whether Defendant’s data security systems prior to and during

            the Data Breach were consistent with industry standards;

         e. Whether Defendant knew or should have known that its data

            security systems and monitoring processes were deficient;

         f. Whether AFLAC was negligent in collecting and storing

            Plaintiff’s and Class members’ Private Information, and

            breached its duties thereby;

         g. Whether AFLAC breached its fiduciary duty to Plaintiff and the

            Class;

         h. Whether AFLAC breached its duty of confidence to Plaintiff and

            the Class;

         i. Whether AFLAC entered a contract implied in fact with Plaintiff

            and the Class;

         j. Whether AFLAC breached that contract by failing to adequately

            safeguard Plaintiff’s and Class members’ Private Information;

         k. Whether AFLAC was unjustly enriched;




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                l. Whether Defendant failed to provide notice of the Data Breach

                   in a timely manner; and

                m. Whether Plaintiff and Class members are entitled to damages,

                   civil penalties, punitive damages, and/or injunctive relief.

   95. Typicality – Plaintiff’s claims are typical of the claims of the members of the

Class. The claims of the Plaintiff and members of the Class are based on the same

legal theories and arise from the same unlawful and willful conduct. Plaintiff and

members of the Class all had information stored in AFLAC’s system(s), each having

their Private Information exposed and/or accessed by an unauthorized third party.

   96. Adequacy of Representation – Plaintiff is an adequate representative of the

Class because his interests do not conflict with the interests of the other Class

members Plaintiff seeks to represent; Plaintiff has retained counsel competent and

experienced in complex Class action litigation; Plaintiff intends to prosecute this

action vigorously; and Plaintiff’s counsel has adequate financial means to vigorously

pursue this action and ensure the interests of the Class will not be harmed.

Furthermore, the interests of the Class members will be fairly and adequately

protected and represented by Plaintiff and Plaintiff’s counsel.

   97. Predominance – Defendant has engaged in a common course of conduct

toward Plaintiff and Class members, in that all Plaintiff and Class member’s Private

Information was stored on the same computer systems and unlawfully accessed in

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the same way. The common issues arising from Defendant’s conduct affecting Class

members set out above predominate over any individualized issues. Adjudication of

these common issues in a single action has important and desirable advantages of

judicial economy.

   98. Superiority – A Class action is superior to other available methods for the fair

and efficient adjudication of the controversy. Class treatment of common questions

of law and fact is superior to multiple individual actions or piecemeal litigation.

Absent a Class action, most Class members would likely find that the cost of

litigating their individual claims is prohibitively high and would therefore have no

effective remedy. The prosecution of separate actions by individual Class members

would create a risk of inconsistent or varying adjudications with respect to individual

Class members, which would establish incompatible standards of conduct for

AFLAC. In contrast, the conduct of this action as a Class action presents far fewer

management difficulties, conserves judicial resources and the parties’ resources, and

protects the rights of each Class member.

   99. AFLAC has acted on grounds that apply generally to the Class as a whole, so

that Class certification, injunctive relief, and corresponding declaratory relief are

appropriate on a Class-wide basis.

   100.      Likewise, particular issues are appropriate for certification because

such claims present only particular, common issues, the resolution of which would

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advance the disposition of this matter and the parties’ interests therein. Such

particular issues include, but are not limited to:

                 a. Whether AFLAC failed to timely and adequately notify the

                    public of the Data Breach;

                 b. Whether AFLAC owed a legal duty to Plaintiff and the Class to

                    exercise due care in collecting, storing, and safeguarding their

                    Private Information;

                 c. Whether AFLAC’s security measures to protect its data systems

                    were reasonable in light of best practices recommended by data

                    security experts;

                 d. Whether AFLAC’s failure to institute adequate protective

                    security measures amounted to negligence;

                 e. Whether AFLAC failed to take commercially reasonable steps to

                    safeguard consumers’ and employees’ Private Information; and

                 f. Whether adherence to FTC data security recommendations, and

                    measures recommended by data security experts would have

                    reasonably prevented the Data Breach.

   101.      Finally, all members of the proposed Class are readily ascertainable.

AFLAC has access to Class members’ names and addresses affected by the Data




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Breach. Class members have already been preliminarily identified and received

notice of the Data Breach by Defendant.

                           FIRST CAUSE OF ACTION

                                    NEGLIGENCE

   102.      Plaintiff restates and realleges the preceding allegations above as if

fully alleged herein.

   103.      Plaintiff brings this claim individually and on behalf of the Class.

   104.      Defendant owed a duty to Plaintiff and Class members to exercise

reasonable care in safeguarding and protecting their Private Information in its

possession, custody, and control.

   105.      Defendant’s duty to use reasonable care arose from several sources,

including but not limited to those described below.

   106.      Defendant had a common law duty to prevent foreseeable harm to

others. This duty existed because Plaintiff and Class members were the foreseeable

and probable victims of any inadequate security practices on the part of the

Defendant. By collecting and storing valuable Private Information that is routinely

targeted by criminals for unauthorized access, Defendant was obligated to act with

reasonable care to protect against these foreseeable threats.

   107.      Defendant breached the duties owed to Plaintiff and Class members and

thus was negligent. As a result of a successful attack directed towards Defendant that

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compromised Plaintiff’s and Class members’ Private Information, Defendant

breached its duties through the following errors and omissions that allowed the Data

Breach to occur:

                a. mismanaging its system and failing to identify reasonably

                   foreseeable internal and external risks to the security,

                   confidentiality, and integrity of customer information that

                   resulted in the unauthorized access and compromise of Private

                   Information;

                b. mishandling its data security by failing to assess the sufficiency

                   of its safeguards in place to control these risks;

                c. failing to design and implement information safeguards to

                   control these risks;

                d. failing to adequately test and monitor the effectiveness of the

                   safeguards’ key controls, systems, and procedures;

                e. failing to evaluate and adjust its information security program in

                   light of the circumstances alleged herein;

                f. failing to detect the breach at the time it began or within a

                   reasonable time thereafter;

                g. failing to follow its own privacy policies and practices published

                   to its customers; and

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                h. failing to adequately train and supervise employees and third

                   party vendors with access or credentials to systems and databases

                   containing sensitive Private Information.

   108.     But for Defendant’s wrongful and negligent breach of its duties owed

to Plaintiff and Class members, their Private Information would not have been

compromised.

   109.     As a direct and proximate result of Defendant’s negligence, Plaintiff

and Class members have suffered injuries, including, but not limited to:

                a. Theft of their Private Information;

                b. Costs associated with the detection and prevention of identity

                   theft and unauthorized use of their Private Information;

                c. Costs associated with purchasing credit monitoring and identity

                   theft protection services;

                d. Lowered credit scores resulting from credit inquiries following

                   fraudulent activities;

                e. Costs associated with time spent and the loss of productivity

                   from taking time to address and attempt to ameliorate, mitigate,

                   and deal with the actual and future consequences of the Data

                   Breach – including finding fraudulent charges, cancelling and

                   reissuing cards, enrolling in credit monitoring and identity theft

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            protection services, freezing and unfreezing accounts, and

            imposing withdrawal and purchase limits on compromised

            accounts;

         f. The imminent and certainly impending injury flowing from the

            increased risk of potential fraud and identity theft posed by their

            Private Information being placed in the hands of criminals;

         g. Damages to and diminution in value of their Private Information

            entrusted, directly or indirectly, to Defendant with the mutual

            understanding that Defendant would safeguard Plaintiff’s and

            Class members’ data against theft and not allow access and

            misuse of their data by others;

         h. Continued risk of exposure to hackers and thieves of their Private

            Information, which remains in Defendant’s possession and is

            subject to further breaches so long as Defendant fails to

            undertake appropriate and adequate measures to protect

            Plaintiff’s and Class members’ data; and

         i. Emotional distress from the unauthorized disclosure of Private

            Information to strangers who likely have nefarious intentions and

            now have prime opportunities to commit identity theft, fraud, and

            other types of attacks on Plaintiff and Class members.

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   110.      As a direct and proximate result of Defendant’s negligence, Plaintiff

and Class members are entitled to damages, including compensatory, punitive,

and/or nominal damages, in an amount to be proven at trial.

                         SECOND CAUSE OF ACTION

                             NEGLIGENCE PER SE

   111.      Plaintiff restates and realleges the preceding allegations above as if

fully alleged herein.

   112.      Plaintiff brings this claim individually and on behalf of the Class.

   113.      Section 5 of the FTC Act prohibits “unfair . . . practices in or affecting

commerce” including, as interpreted and enforced by the FTC, the unfair act or

practice by entities such as Defendant for failing to use reasonable measures to

protect ““Private Information””. Various FTC publications and orders also form the

basis of Defendant’s duty.

   114.      Defendant violated Section 5 of the FTC Act by failing to use

reasonable measures to protect Private Information and not complying with the

industry standards. Defendant’s conduct was particularly unreasonable given the

nature and amount of Private Information it obtained and stored and the foreseeable

consequences of a data breach involving Private Information of its customers.

   115.      Plaintiff and members of the Class are consumers within the Class of

persons Section 5 of the FTC Act was intended to protect.

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   116.      Defendant’s violation of Section 5 of the FTC Act constitutes

negligence per se.

   117.      The harm that has occurred as a result of Defendant’s conduct is the

type of harm that the FTC Act and Part 2 was intended to guard against.

   118.      As a direct and proximate result of Defendant’s negligence, Plaintiff

and Class members have been injured as described herein, and are entitled to

damages, including compensatory, punitive, and nominal damages, in an amount to

be proven at trial.

                          THIRD CAUSE OF ACTION

                        BREACH OF FIDUCIARY DUTY

   119.      Plaintiff restates and realleges the preceding allegations above as if

fully alleged herein.

   120.      Plaintiff brings this claim individually and on behalf of the Class.

   121.      Plaintiff and Class members have an interest, both equitable and legal,

in the Private Information about them that was conveyed to, collected by, and

maintained by Defendant and that was ultimately accessed or compromised in the

Data Breach.

   122.      As a recipient of consumers’ Private Information, Defendant has a

fiduciary relationship to Plaintiff and the Class members.




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   123.      Because of that fiduciary relationship, Defendant was provided with

and stored private and valuable Private Information related to Plaintiff and the Class.

Plaintiff and the Class were entitled to expect their information would remain

confidential while in Defendant’s possession.

   124.      Defendant owed a fiduciary duty under common law to Plaintiff and

Class members to exercise the utmost care in obtaining, retaining, securing,

safeguarding, deleting, and protecting their Private Information in Defendant’s

possession from being compromised, lost, stolen, accessed, and misused by

unauthorized persons.

   125.      As a result of the parties’ fiduciary relationship, Defendant had an

obligation to maintain the confidentiality of the information within Plaintiff’s and

the Class members’ records.

   126.      Defendant had possession and knowledge of confidential Private

Information of Plaintiff and Class members, information not generally known.

   127.      Plaintiff and Class members did not consent to nor authorize Defendant

to release or disclose their Private Information to unknown criminal actors.

   128.      Defendant breached its fiduciary duties owed to Plaintiff and Class

members by, among other things: mismanaging its system and failing to identify

reasonably foreseeable internal and external risks to the security, confidentiality, and

integrity of customer information that resulted in the unauthorized access and

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compromise of Private Information; mishandling its data security by failing to assess

the sufficiency of its safeguards in place to control these risks; failing to design and

implement information safeguards to control these risks; failing to adequately test

and monitor the effectiveness of the safeguards’ key controls, systems, and

procedures; failing to evaluate and adjust its information security program in light

of the circumstances alleged herein; failing to detect the breach at the time it began

or within a reasonable time thereafter; failing to follow its own privacy policies and

practices published to its customers and employees; and failing to adequately train

and supervise employees and third-party vendors with access or credentials to

systems and databases containing sensitive Private Information.

   129.      But for Defendant’s wrongful breach of its fiduciary duties owed to

Plaintiff and Class members, their Private Information would not have been

compromised.

   130.      As a direct and proximate result of Defendant’s negligence, Plaintiff

and Class members have suffered injuries, including:

                a. Theft of their Private Information;

                b. Costs associated with the detection and prevention of identity

                    theft and unauthorized use of their Private Information;

                c. Costs associated with purchasing credit monitoring and identity

                    theft protection services;

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         d. Lowered credit scores resulting from credit inquiries following

            fraudulent activities;

         e. Costs associated with time spent and the loss of productivity

            from taking time to address and attempt to ameliorate, mitigate,

            and deal with the actual and future consequences of the Data

            Breach – including finding fraudulent charges, cancelling and

            reissuing cards, enrolling in credit monitoring and identity theft

            protection services, freezing and unfreezing accounts, and

            imposing withdrawal and purchase limits on compromised

            accounts;

         f. The imminent and certainly impending injury flowing from the

            increased risk of potential fraud and identity theft posed by their

            Private Information being placed in the hands of criminals;

         g. Damages to and diminution in value of their Private Information

            entrusted, directly or indirectly, to Defendant with the mutual

            understanding that Defendant would safeguard Plaintiff’s and

            Class members’ data against theft and not allow access and

            misuse of their data by others;

         h. Continued risk of exposure to hackers and thieves of their Private

            Information, which remains in Defendant’s possession and is

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                    subject to further breaches so long as Defendant fails to

                    undertake appropriate and adequate measures to protect

                    Plaintiff’s and Class members’ data; and

                i. Emotional distress from the unauthorized disclosure of Private

                    Information to strangers who likely have nefarious intentions and

                    now have prime opportunities to commit identity theft, fraud, and

                    other types of attacks on Plaintiff and Class members.

   131.      As a direct and proximate result of Defendant’s breach of its fiduciary

duties, Plaintiff and Class members are entitled to damages, including compensatory,

punitive, and/or nominal damages, in an amount to be proven at trial.

                         FOURTH CAUSE OF ACTION

                            UNJUST ENRICHMENT

   132.      Plaintiff restates and realleges the preceding allegations above as if

fully alleged herein.

   133.      Plaintiff brings this claim individually and on behalf of the Class.

   134.      Upon information and belief, Defendant funds its data security

measures entirely from its general revenue, including payments made by or on behalf

of Plaintiff and the Class members.

   135.      As such, a portion of the payments made by or on behalf of Plaintiff

sand the Class members is to be used to provide a reasonable level of data security,

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and the amount of the portion of each payment made that is allocated to data security

is known to Defendant.

   136.      Plaintiff and Class members conferred a monetary benefit on

Defendant. In exchange, Plaintiff and Class members should have received from

Defendant the goods and services that were the subject of the transaction and have

their Private Information protected with adequate data security.

   137.      Defendant knew that Plaintiff and Class members conferred a benefit

which Defendant accepted. Defendant profited from these transactions and used the

Private Information of Plaintiff and Class members for business purposes.

   138.      In particular, Defendant enriched itself by saving the costs it reasonably

should have expended on data security measures to secure Plaintiff’s and Class

members’ Private Information. Instead of providing a reasonable level of security

that would have prevented the Data Breach, Defendant instead calculated to increase

its own profits at the expense of Plaintiff and Class members by utilizing cheaper,

ineffective security measures. Plaintiff and Class members, on the other hand,

suffered as a direct and proximate result of Defendant’s decision to prioritize its own

profits over the requisite security.

   139.      Under the principles of equity and good conscience, Defendant should

not be permitted to retain the money belonging to Plaintiff and Class members,




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because Defendant failed to implement appropriate data management and security

measures that are mandated by its common law and statutory duties.

   140.      Defendant failed to secure Plaintiff and Class members’ Private

Information and, therefore, did not provide full consideration for the benefit Plaintiff

and Class members provided.

   141.      Defendant acquired the Private Information through inequitable means

in that it failed to disclose the inadequate security practices previously alleged.

   142.      If Plaintiff and Class members knew that Defendant had not reasonably

secured their Private Information, they would not have agreed to have their

information provided to Defendant.

   143.      Plaintiff and Class members have no adequate remedy at law.

   144.      As a direct and proximate result of Defendant’s conduct, Plaintiff and

Class members have suffered injuries, including, but not limited to:

                a. Theft of their Private Information;

                b. Costs associated with purchasing credit monitoring and identity

                    theft protection services;

                c. Costs associated with the detection and prevention of identity

                    theft and unauthorized use of their Private Information;

                d. Lowered credit scores resulting from credit inquiries following

                    fraudulent activities;

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         e. Costs associated with time spent and the loss of productivity

            from taking time to address and attempt to ameliorate, mitigate,

            and deal with the actual and future consequences of the Data

            Breach – including finding fraudulent charges, cancelling and

            reissuing cards, enrolling in credit monitoring and identity theft

            protection services, freezing and unfreezing accounts, and

            imposing withdrawal and purchase limits on compromised

            accounts;

         f. The imminent and certainly impending injury flowing from the

            increased risk of potential fraud and identity theft posed by their

            Private Information being placed in the hands of criminals;

         g. Damages to and diminution in value of their Private Information

            entrusted, directly or indirectly, to Defendant with the mutual

            understanding that Defendant would safeguard Plaintiff’s and

            Class members’ data against theft and not allow access and

            misuse of their data by others;

         h. Continued risk of exposure to hackers and thieves of their Private

            Information, which remains in Defendant’s possession and is

            subject to further breaches so long as Defendant fails to




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                    undertake appropriate and adequate measures to protect

                    Plaintiff’s and Class members’ data; and

                 i. Emotional distress from the unauthorized disclosure of Private

                    Information to strangers who likely have nefarious intentions and

                    now have prime opportunities to commit identity theft, fraud, and

                    other types of attacks on Plaintiff and Class members.

   145.       As a direct and proximate result of Defendant’s conduct, Plaintiff and

Class members have suffered and will continue to suffer other forms of injury and/or

harm.

   146.       Defendant should be compelled to disgorge into a common fund or

constructive trust, for the benefit of Plaintiff and Class members, proceeds that they

unjustly received from them. In the alternative, Defendant should be compelled to

refund the amounts that Plaintiff and Class members overpaid for Defendant’s

services.

                           FIFTH CAUSE OF ACTION

                          DECLARATORY JUDGMENT

   147.       Plaintiff restates and realleges the preceding allegations above as if

fully alleged herein.

   148.       Plaintiff brings this claim individually and on behalf of the Class.




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   149.        Under the Declaratory Judgment Act, 28 U.S.C. §§ 2201, et seq., this

Court is authorized to enter a judgment declaring the rights and legal relations of the

parties and granting further necessary relief. Furthermore, the Court has broad

authority to restrain acts, such as here, that are tortious and violate the terms of the

federal statutes described in this Complaint.

   150.        An actual controversy has arisen in the wake of the Data Breach

regarding Defendant’s present and prospective common law and other duties to

reasonably safeguard Plaintiff’s and Class members’ Private Information, and

whether Defendant is currently maintaining data security measures adequate to

protect Plaintiff and Class members from future data breaches that compromise their

Private Information. Plaintiff and the Class remain at imminent risk that additional

compromises of their Private Information will occur in the future.

   151.        The Court should also issue prospective injunctive relief requiring

Defendant to employ adequate security practices consistent with law and industry

standards to protect consumers’ Private Information.

   152.        Defendant still possess Plaintiff’s and Class members’ Private

Information.

   153.        Defendant has made no announcement that it has changed its data

storage or security practices relating to the storage of Plaintiff’s and Class members’

Private Information.

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   154.        To Plaintiff’s knowledge, Defendant has made no announcement or

notification that it has remedied the vulnerabilities and negligent data security

practices that led to the Data Breach.

   155.        If an injunction is not issued, Plaintiff and the Class will suffer

irreparable injury and lack an adequate legal remedy in the event of another data

breach at AFLAC. The risk of another such breach is real, immediate, and

substantial.

   156.        The hardship to Plaintiff and Class members if an injunction does not

issue exceeds the hardship to Defendant if an injunction is issued. Among other

things, if another data breach occurs at AFLAC, Plaintiff and Class members will

likely continue to be subjected to a heightened, substantial, imminent risk of fraud,

identify theft, and other harms described herein. On the other hand, the cost to

Defendant of complying with an injunction by employing reasonable prospective

data security measures is relatively minimal, and Defendant has a pre-existing legal

obligation to employ such measures.

   157.        Issuance of the requested injunction will not compromise the public

interest. To the contrary, such an injunction would benefit the public by preventing

another data breach at AFLAC, thus eliminating the additional injuries that would

result to Plaintiff and Class members, along with other consumers whose Private

Information would be further compromised.

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   158.      Pursuant to its authority under the Declaratory Judgment Act, this Court

should enter a judgment declaring that AFLAC implement and maintain reasonable

security measures, including but not limited to the following:

                a. Engaging third-party security auditors/penetration testers, as

                   well as internal security personnel, to conduct testing that

                   includes simulated attacks, penetration tests, and audits on

                   AFLAC systems on a periodic basis, and ordering AFLAC to

                   promptly correct any problems or issues detected by such third-

                   party security auditors;

                b. Engaging third-party security auditors and internal personnel to

                   run automated security monitoring;

                c. Auditing, testing, and training its security personnel regarding

                   any new or modified procedures;

                d. Purging, deleting, and destroying Private Information not

                   necessary for its provisions of services in a reasonably secure

                   manner;

                e. Conducting regular database scans and security checks; and

                f. Routinely and continually conducting internal training and

                   education to inform internal security personnel how to identify




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                   and contain a breach when it occurs and what to do in response

                   to a breach.

                            DEMAND FOR RELIEF

      WHEREFORE, Plaintiff, on behalf of himself and all others similarly

situated, demand relief as follows:

         a) For an Order certifying this action as a Class action and appointing

             Plaintiff as a Class Representative and his counsel as Class Counsel;

         b) For equitable relief enjoining AFLAC from engaging in the wrongful

             conduct complained of herein pertaining to the misuse and/or

             disclosure of Plaintiff’s and Class members’ Private Information, and

             from refusing to issue prompt, complete and accurate disclosures to

             Plaintiff and Class members;

         c) For equitable relief compelling AFLAC to utilize appropriate methods

             and policies with respect to consumer data collection, storage, and

             safety, and to disclose with specificity the type of Personal Information

             compromised during the Data Breach;

         d) For equitable relief requiring restitution and disgorgement of the

             revenues wrongfully retained as a result of AFLAC’s wrongful conduct;

         e) Ordering AFLAC to pay for not less than three years of credit

             monitoring services for Plaintiff and the Class;

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        f) For an award of actual damages, compensatory damages, statutory

           damages, and statutory penalties, in an amount to be determined, as

           allowable by law;

        g) For an award of punitive damages, as allowable by law;

        h) For an award of attorneys’ fees and costs, and any other expense,

           including expert witness fees;

        i) Pre- and post-judgment interest on any amounts awarded; and,

        j) Such other and further relief as this court may deem just and proper.

                          JURY TRIAL DEMANDED

     A jury trial is demanded by Plaintiff on all claims so triable.

June 23, 2025                         Respectfully Submitted,

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